972 F.2d 1338
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.John Robert DEMOS, Jr., Petitioner-Appellant,v.F. James GAVIN;  Ray Munson;  Robert N. Hackett;  Philip J.Thompson, Respondents-Appellees.
    No. 91-35291.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 17, 1992.*Decided Aug. 20, 1992.
    
      Before EUGENE A. WRIGHT, BEEZER and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      For the reasons stated in the district court's order filed January 16, 1991, we AFFIRM.
    
    
      
        *
         The panel unanimously finds this case suitable for submission on the record a nd briefs and without oral argument.   Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to  or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    